Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 1 of 25




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  Fernanda Price, individually and on behalf of                      1:22-cv-21405
  all others similarly situated,
                                    Plaintiff,

                      - against -                               Class Action Complaint

  Walgreen Co.,
                                                                  Jury Trial Demanded
                                    Defendant

          Plaintiff Fernanda Price (“Plaintiff”), by and through her undersigned counsel, pursuant to

  all applicable Federal Rules of Civil Procedure, hereby files this class action complaint on behalf

  of herself and all others similarly situated throughout the United States, and alleges upon

  information and belief, except for allegations pertaining to Plaintiff, which are based on personal

  knowledge against Defendant Walgreen Co. (“Defendant” or “Walgreens”) as follows:


          1.    Founded in 1901, Walgreens is an American company that operates as the second-

  largest drug-store chain in the United States with over 9,000 retail locations nationwide and a

  presence in all 50 states, as well as the District of Columbia, Puerto Rico and the U.S. Virgin

  Islands.

          2.    In addition to retail and wholesale pharmacy Defendant markets, advertises,

  distributes and sells various types of tobacco products including but not limited to menthol

  cigarettes.

          3.    At issue here are Defendant’s Marlboro Menthol Cigarettes (the “Products”). See

  Exhibit 1, attached hereto and incorporated herein, a true and correct representation of the

  Products’ label and online advertisement.

          4.    Defendant represents the Products as mere ordinary cigarettes, when in fact, they are
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 2 of 25




  not because menthol cigarettes are far more dangerous and addictive than any other type of

  cigarette available to consumers. Defendant provides NO WARNING that the Products pose

  additional health risks far beyond those seen with nonmenthol cigarettes.

         5.    For example, numerous studies have shown that menthol increases the appeal of

  tobacco and facilitates addiction, particularly among youth and young adults because menthol

  masks the unpleasant flavors and harshness of tobacco products, making them easier to start using.

         6.    Tobacco products with menthol can also be more addictive and harder to quit because

  they can enhance the effects of nicotine. One study suggests that banning menthol cigarettes in the

  U.S. would lead an additional 923,000 smokers to quit, while an earlier study projected that about

  633,000 deaths would be averted if not for the marketing of menthol cigarettes.1

         7.    Despite the wealth of scientific research elucidating the inordinate hazards of

  menthol cigarettes, Defendant provides no warning or disclaimer of the Products’

  disproportionately toxic effects. As a result, Plaintiff has purchased Products that are unreasonably

  harmful and addictive and not as warranted and represented by Defendant.

         8.    Defendant’s marketing and advertising of the Products is false and deceptive.

  Through a variety of advertising methods, including but not limited to the packaging and labeling

  and online advertising of the Products, Defendant has made false representations regarding the

  true nature of the Products.

         9.    Plaintiff and consumers expected to purchase conventional cigarettes only to learn

  that they were in fact purchasing a product far more addictive and harmful than any of the other




  1
    “FDA Commits to Evidence Based Actions Aimed at Saving Lives and Preventing Future
  Generations of Smokers.” (April 29, 2021). Available at https://www.fda.gov/news-events/press-
  announcements/fda-commits-evidence-based-actions-aimed-saving-lives-and-preventing-future-
  generations-smokers.


                                                   2
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 3 of 25




  cigarettes available on the market; as a result, plaintiff and consumers were denied the benefit of

  their bargain.

            10.    Defendant’s false and misleading representations and omissions violate state and

  federal law, including Florida’s Deceptive and Unfair Trade Practices Act, as detailed more fully

  below.

  I.    FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

            11.    In 2009, Congress passed—and President Obama signed into law—the Family

  Smoking Prevention and Tobacco Control Act, Pub. L. No. 111-31, 123 Stat. 1776 (codified, in

  relevant part, at 15 U.S.C. §§ 1333–34 and 21 U.S.C. § 301 et seq.) (2009) (“Tobacco Control

  Act”).

            12.    This Act authorized the U.S. Food & Drug Administration (“FDA”) to regulate

  tobacco products, 21 U.S.C. § 387a, and prohibited all flavors in cigarettes, except for tobacco and

  menthol (i.e., the “flavor ban”), id. § 387g(a)(1). Although it did not ban menthol at that time,

  Congress recognized that menthol cigarettes “may pose unique health risks to those who smoke

  them.”2

            13.    Thereafter Congress repeatedly highlighted the urgent nature of the menthol inquiry,

  “urg[ing] the Secretary [of the U.S. Department of Health and Human Services (“HHS”)] to

  address these issues as quickly as practicable.” H. Rept., Part 1 at 38 (emphasis added). Indeed,

  Congress believed that it would be “critical for the Secretary to move quickly to address the unique

  public health issues posed by menthol cigarettes.” Id. at 38–39 (emphasis added).

            14.    In 2010, FDA organized a Tobacco Product Scientific Advisory Committee


  2
    H. Rept. 111-58, Part 1, Tobacco Control Act, 111th Congress (2009–10), 38 (Energy and
  Commerce        Comm.)         (“H.       Rept.,     Part      1”).    Available      at
  https://www.congress.gov/111/crpt/hrpt58/CRPT-111hrpt58-pt1.pdf .


                                                     3
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 4 of 25




  (“TPSAC”) in accordance with the Act’s directive. That Committee was comprised of “a panel of

  leading public health, scientific experts and representatives of various parts of the tobacco

  industry.” See FDA, Dr. Lawrence R. Deyton, Dir. Center for Tobacco Products, FDA Remarks

  on the Report and Recommendation on the Public Health Impact of Menthol Cigarettes (Mar. 18,

  2011) (“2011 FDA Remarks on Menthol Cigarettes Rept.”).3

         15.   This Committee was charged with “providing advice, information, and

  recommendations to FDA on health issues related to tobacco products and other issues relating to

  the regulation of tobacco products.” Id.

         16.   The full Scientific Advisory Committee first met in March 2010, and 11 more times

  thereafter. See FDA Rept. to Congress, Progress and Effectiveness of the Implementation of the

  Family Smoking Prevention and Tobacco Control Act, at 15 (2013). There were also two meetings

  of the Tobacco Products Constituents Subcommittee of the TPSAC and two meetings of the

  Menthol Report Subcommittee. See id.

         17.   On March 23, 2011, the TPSAC submitted its report, Menthol Cigarettes and Public

  Health: Review of the Scientific Evidence and Recommendations (2011) (“2011 TPSAC Menthol

  Rept.”). This Report—also known as the TPSAC Report—contained a number of findings and

  conclusions, based on the best available scientific evidence.

         18.   Among other things, the Report found that menthol is a flavor additive that possesses

  a minty taste and aroma. See 2011 TPSAC Menthol Rept. at 16. In certain medicinal products such

  as cough drops, menthol is actually regulated as a drug. See id. The use of menthol in tobacco

  products, however, was not. See id.



  3
   Available at
  https://wayback.archiveit.org/7993/20170112125250/http://www.fda.gov/AdvisoryCommittees/
  CommitteesMeetingMaterials/TobaccoProductsScientificAdvisoryCommittee/ucm247617.htm.


                                                   4
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 5 of 25




         19.    The Report also found that menthol produces a variety of sensory effects, including

  cooling and soothing effects, as well as anesthetic effects. See id. at 23. For example, “[i]n

  cigarettes with low levels of tar and nicotine, the addition of menthol can enhance the ‘bite’ or

  ‘throat grab’ of the smoke, making such cigarettes more acceptable to consumers. Conversely, the

  addition of menthol to cigarettes high in tar and nicotine can reduce the irritating effect of nicotine

  ... making these cigarettes more palatable.” Id. at 24.

         20.    Additionally, the Report found that the tobacco companies “manipulated the

  concentration of menthol to achieve a desired taste, aroma, and cooling sensation based on

  anticipated consumer preference and demand.” See id. at 55.

         21.    The Report also concluded that menthol cigarettes were associated with “increased

  transition to greater or established smoking and dependence.” Id. at 149.

         22.    In sum, the Report noted that sufficient evidence existed to conclude that the

  availability of menthol cigarettes— increases experimentation and regular smoking, id. at 216;

  increases the likelihood of addiction and the degree of addiction in youth smokers, id. at 216; and

  results in lower likelihood of smoking cessation success in African-Americans, compared to

  smoking non‐menthol cigarettes, id. at 217.

         23.    The availability of menthol cigarettes was also found to “increase the likelihood of

  experimentation and regular smoking beyond the anticipated prevalence if such cigarettes were

  not available, in the general population and particularly in African Americans.” id. at 219. In

  addition, the Committee found a “causal relationship between the availability of menthol cigarettes

  and regular smoking among youth.” Id. It also found that menthol cigarette marketing increased

  the prevalence of smoking “beyond anticipated prevalence if such cigarettes were not available for

  the whole population, and for youth and African Americans.” Id. at 220.




                                                    5
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 6 of 25




         24.   Based on the Committee’s findings, the Report made two overall conclusions: (1)

  “Menthol cigarettes have an adverse impact on public health in the United States”; and (2) “There

  are no public health benefits of menthol compared to non‐menthol cigarettes.” 2011 TPSAC

  Menthol Rept. at 220. As explained by the Committee, “the availability of menthol cigarettes has

  led to an increase in the number of smokers and this increase does have adverse public health

  impact in the United States.” Id. at 220.

         25.   “[O]f particular concern was the high rate of menthol cigarette smoking among youth

  and the trend over the last decade of increasing menthol cigarette smoking among 12–17 year-

  olds, even as smoking of non‐menthol cigarettes declines. .... Thus, the availability of menthol

  cigarettes increases initiation and reduces cessation, thereby increasing the number of people who

  are smoking. This increase in the number of smokers represents an adverse impact of the

  availability of menthol cigarettes on public health.” Id. at 220–21.

         26.   In testament to the disproportionately toxic effects of menthol cigarettes, the

  Committee’s Report posited that if menthol cigarettes had been removed from the marketplace in

  2010, then (a) by 2020, roughly 17,000 premature deaths would have been avoided, and about 2.3

  million people would not have started smoking; and (b) by 2050, the cumulative gains would have

  resulted in over 327,000 premature deaths avoided, and over 9.1 million people that would not

  have started smoking.

         27.   As a result of the Committee’s findings, the Committee then made the following

  overall recommendation to FDA: “Removal of menthol cigarettes from the marketplace would

  benefit public health in the United States.” 2011 TPSAC Menthol Rept. at 225 (emphasis in

  original). Per the Committee:

                 Menthol cigarettes are now smoked by most African American
                 smokers and there is a concerning rise of menthol cigarette smoking


                                                   6
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 7 of 25




                       among youth. Menthol cannot be considered merely a flavoring
                       additive to tobacco. Its pharmacological actions reduce the
                       harshness of smoke and the irritation from nicotine, and may
                       increase the likelihood of nicotine addiction in adolescents and
                       young adults who experiment with smoking. Furthermore, the
                       distinct sensory characteristics of menthol may enhance the
                       addictiveness of menthol cigarettes, which appears to be the case
                       among youth. [The Committee] has found that the availability of
                       menthol cigarettes has an adverse impact on public health by
                       increasing the numbers of smokers with resulting premature death
                       and avoidable morbidity. Id. at 225.

           28.        The FDA subsequently conducted a peer-reviewed investigation in 2013. See FDA

  Rept. to Congress, Progress and Effectiveness of the Implementation of the Family Smoking

  Prevention and Tobacco Control Act, at 15 (2013).4

           29.        Based on its review, the FDA found that the weight of evidence supported the

  following similar conclusions:

                 a.       Menthol in cigarettes is “likely associated with altered physiological responses

                          to tobacco smoke”;

                 b.       A majority of African American smokers use menthol cigarettes;

                 c.       Younger populations have the highest rate of smoking menthol cigarettes;

                 d.       Female smokers are more likely to smoke menthol cigarettes than male

                          smokers;

                 e.       The marketing of menthol cigarettes is associated with menthol brand




  4
      Available at https://www.fda.gov/media/86670/download.



                                                       7
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 8 of 25




                          preference among adolescents and the African American community;5 and

               f.         Menthol in cigarettes is likely associated with:

                     i.   increased initiation and progression to regular cigarette smoking;6

                    ii.   increased dependence;7 and

                iii.      reduced success in smoking cessation, especially among African American

                          menthol smokers.8 2013 FDA findings at 4-6.


         30.        The FDA ultimately concluded that menthol in cigarettes was associated with greater

  addiction, menthol smokers were less likely to successfully quit smoking, and that menthol

  cigarettes likely posed “a public health risk above that seen with nonmenthol cigarettes”:

                       The impact of cigarette smoking upon public health is indisputable.
                       More than 400,000 deaths per year in the United States are caused
                       by tobacco use. Consistent patterns have emerged as a result of
                       FDA’s evaluation of the scientific evidence relevant to the impact
                       of menthol tobacco products on public health. ... [A]dequate data
                       suggest that menthol use is likely associated with increased smoking
                       initiation by youth and young adults.

                       Further, the data indicate that menthol in cigarettes is likely
                       associated with greater addiction. Menthol smokers show greater
                       signs of nicotine dependence and are less likely to successfully quit
                       smoking. These findings, combined with the evidence indicating

  5
     “The available data show that advertising is a strong driver of brand preference among
  adolescents and that it is likely that the standard marketing mix approach of price, promotion,
  product, and place has been used to drive menthol cigarette preference among the urban African
  American community.” 2013 FDA Findings, at 5.
  6
    “Data show that newer smokers prefer menthol at levels substantially above that of the general
  population, with an inverse correlation between age and menthol preference that reaches a plateau
  in adulthood.” 2013 FDA Findings, at 5.
  7
    “There were consistent findings that menthol smokers more likely to smoke their first cigarette
  within five minutes of waking.” 2013 FDA Findings, at 6.
  8
    “In the reviewed studies, menthol smokers, especially African American menthol smokers, were
  less likely to successfully stop smoking than their nonmenthol smoking counterparts. This is
  consistent with the observation that menthol smokers appear to be more nicotine dependent than
  nonmenthol smokers which can be an important factor in smoking cessation success.” 2013 FDA
  Findings, at 6.


                                                        8
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 9 of 25




                   that menthol’s cooling and anesthetic properties can reduce the
                   harshness of cigarette smoke and the evidence indicating that
                   menthol cigarettes are marketed as a smoother alternative to
                   nonmenthol cigarettes, make it likely that menthol cigarettes pose a
                   public health risk above that seen with nonmenthol cigarettes. Id. at
                   6.

         31.    Additional studies have since similarly concluded that removing menthol from

  cigarettes is likely to reduce youth smoking initiation, improve smoking cessation outcomes in

  adult smokers, and in turn, benefit public health.9

         32.    For example, a follow up study reviewing Canada’s menthol ban found higher rates

  of quitting among daily and occasional menthol smokers, one year after the implementation of a

  menthol ban.10

         33.    Many other countries have also recognized the disproportionately harmful effects of

  menthol cigarettes and have since begun to ban them.11

         34.    The COVID-19 pandemic has further showcased the myriad ways in which menthol

  cigarettes negatively impact the public health, and the African-American community in particular.

         35.    A study in the New England Journal of Medicine found that coronavirus patients in

  China who smoked were more than twice as likely as those who didn’t to have severe infections



  9
     Andrea C. Villanti, et al., Menthol Cigarettes and The Public Health Standard: A Systematic
  Review,       BMC         Public      Health     (Dec.     29,      2017).       Available      at
  https://bmcpublichealth.biomedcentral.com/articles/10.1186/s12889-017-4987-z.
  10
     See Chaiton M.O. et al., Ban on menthol-flavoured tobacco products predicts cigarette cessation
  at 1 year: a population cohort study, Tobacco Control (May 30, 2019). Available at
  https://tobaccocontrol.bmj.com/content/early/2019/05/29/tobaccocontrol-2018-054841.
  11
     For example, in 2012, Brazil approved a ban on all flavors, including menthol, in all tobacco
  products. In 2016, the European Union banned all flavored cigarettes including menthol (effective
  2020). And in 2017, Canada banned the sale of menthol cigarettes. See Campaign for Tobacco-
  Free Kids, Brazil’s Highest Court Upholds Ban on Flavored Tobacco Products (Feb. 1, 2018).
  Available at https://www.tobaccofreekids.org/press-releases/2018_02_01_brazil-court- upholds-
  flavor-ban (last visited June 13, 2020). World Health Organization, Advisory Note: Banning
  Menthol          in           Tobacco         Products,        49–50         available          at
  https://apps.who.int/iris/bitstream/handle/10665/205928/9789241510332_eng.pdf;jsessionid.


                                                    9
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 10 of 25




  from COVID-19.12

         36.   An April 8, 2020, advisory from Massachusetts Attorney General Maura Healey

  warned that “it is vital that people are aware of the serious potential risks associated with smoking

  or vaping and COVID-19,” noting that “flavored tobacco products could make lung infections like

  COVID-19 worse.”13

         37.   In response, the FDA has re-committed to its efforts to ban menthol cigarettes in

  order to reduce addiction and save lives.14

         38.   In April 2022, the FDA announced its “long-awaited plan to ban menthol cigarettes

  and flavored cigars, citing the toll on Black smokers and young people.”15

         39.   According to Health and Human Services Secretary Xavier Becerra, the proposed

  regulations “would help prevent children from becoming the next generation of smokers and help

  adult smokers quit” and were an “important step to advance health equity” by reducing racial



  12
       Available at https://www.nytimes.com/2020/04/09/health/coronavirus-smoking-vaping-
  risks.html (citing https://www.nejm.org/doi/full/10.1056/NEJMoa2002032).
  13
     Available at https://www.mass.gov/doc/covid-vaping-advisory/download.
  14
      Available at https://www.fda.gov/news-events/press-announcements/fda-commits-evidence-
  based-actions-aimed-saving-lives-and-preventing-future-generations-smokers. See also “FDA
  Commits to Evidence Based Actions Aimed at Saving Lives and Preventing Future Generations
  of Smokers.” (April 29, 2021). Available at https://www.fda.gov/news-events/press-
  announcements/fda-commits-evidence-based-actions-aimed-saving-lives-and-preventing-future-
  generations-smokers (“Banning menthol—the last allowable flavor—in cigarettes and banning all
  flavors in cigars will help save lives, particularly among those disproportionately affected by these
  deadly products. With these actions, the FDA will help significantly reduce youth initiation,
  increase the chances of smoking cessation among current smokers, and address health disparities
  experienced by communities of color, low-income populations, and LGBTQ+ individuals, all of
  whom are far more likely to use these tobacco products,” said Acting FDA Commissioner Janet
  Woodcock, M.D. “Together, these actions represent powerful, science-based approaches that will
  have an extraordinary public health impact. Armed with strong scientific evidence, and with full
  support from the Administration, we believe these actions will launch us on a trajectory toward
  ending tobacco-related disease and death in the U.S.”).
  15
     Matthew Perrone, FDA Issues Plan to Ban Menthol Cigarettes, Associated Press, Apr. 28, 2022.
  Available at https://www.nbcmiami.com/news/health/fda-to-announce-plan-banning-menthol-
  cigarettes/2747709/.


                                                   10
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 11 of 25




  disparities in tobacco use.

            40.   Phillip Gardiner of the African American Tobacco Control Leadership Council

  expressed these sentiments, stating that “Black folks die disproportionately of heart disease, lung

  cancer and stroke,” and “[M]enthol cigarettes [] are the main vectors of those diseases in the Black

  and brown communities.”

            41.   Plaintiff Fernanda Price purchased the Products from a Walgreens in Miami Beach

  numerous times prior to, and within, the four years preceding the filing of this Complaint.

            42.   Walgreens represents itself as a “trusted wellness provider” and “neighborhood

  retailer that makes health and well-being within reach for everyone on a daily basis.”16 On its

  website Defendant notes that “there’s a Walgreens store located within five miles of approximately

  78 percent of all Americans” and that “every day, we touch the lives of more than 8 million

  customers in our stores and online.”17

            43.   In purchasing the Products from her “trusted” local Walgreens, Plaintiff believed the

  that the Products were simply ordinary cigarettes when in fact the Products pose a far greater health

  risk than any other type of cigarette.

            44.   Defendant provided NO WARNING or disclaimer of the inordinately addictive and

  harmful nature of the Products compared to other cigarettes, and Defendant’s advertising and

  marketing is deceptive and likely to mislead the public as a result.

            45.   Plaintiff and Class Members would not have purchased the Products if they had

  known the true nature of their harmful effects.

            46.   In purchasing the Products, Plaintiff saw, read, and relied on the packages and




  16
       https://jobs.walgreens.com/about-us (last visited May 14, 2021).
  17
       Id.


                                                    11
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 12 of 25




  advertising for the Products misrepresenting them as typical cigarettes no more dangerous than

  any other.

         47.   Plaintiff and Class Members have been damaged by their purchase of the Products

  because the labeling and advertising for the Products was and is deceptive and misleading;

  therefore, the Products are worth less than what Plaintiff paid for them, and Plaintiff and Class

  Members did not receive what they reasonably intended to receive.

         48.   Defendant’s failure to warn that the Products are unreasonably dangerous and

  excessively addictive was important to Plaintiff and Class Members in deciding to purchase and

  use the Products because they would not have purchased the Products had they been advertised

  and labeled with the warning of their significant and disproportionate health risks to consumers.

         49.   At a minimum, Plaintiff and Class Members contend that Defendant should be

  prohibited from selling menthol cigarettes or at the very least include a warning that the Products

  pose a public health risk above that seen with nonmenthol cigarettes.

                                   JURISDICTION AND VENUE

         50.   This Court has jurisdiction over the subject matter presented by this Complaint

  because it is a class action arising under 18 U.S.C. § 1332(d), which, under the Class Action

  Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4 (2005), explicitly provides for the

  original jurisdiction of the Federal Courts of any class action in which any member of the Plaintiff

  class is a citizen of a state different from any Defendant, and in which the matter in controversy

  exceeds in the aggregate the sum of $5,000,000, exclusive of interest and costs.

         51.   On information and belief, Plaintiff alleges that the total claims of individual Class

  Members in this action are in excess of $5,000,000 in the aggregate, exclusive of interest and costs,

  as required by 28 U.S.C. § 1332(d)(2), (5).



                                                   12
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 13 of 25




            52.   Plaintiff is a citizen of the State of Florida, as set forth below, and Defendant can be

  considered a citizen of Illinois. Therefore, diversity of citizenship exists under CAFA as required

  by 28 U.S.C. § 1332(d)(2)(A).

            53.   Venue in this district is proper pursuant to 28 U.S.C. §1391(b)(1) because Defendant

  resides, conducts business, is found and is subject to personal jurisdiction in this district.

            54.   Venue in this district is proper pursuant to 28 U.S.C. §1391(b)(2) because a

  substantial part of the events or omissions giving rise to the Plaintiff’s claims occurred in this

  district, including her purchase, consumption and use of the Products and the representations and

  omissions of Defendant with respect to the Products.

            55.   In accordance with this Court’s Rules, this action should be assigned to the Miami

  Division because a substantial part of the events or omissions giving rise to Plaintiff’s claims

  occurred in Miami-Dade County, including Plaintiff’s purchase, consumption, and use of the

  Products, the representations made to her by Defendant, and Plaintiff’s reliance on those

  representations.

            56.   The members of the proposed class exceed 100 because the Products have been sold

  throughout the United States with the representations described here for at least the proposed class

  period.

                                                 PARTIES

            57.   Plaintiff Fernanda Price is an individual consumer over the age of 18 and a citizen of

  Florida.

            58.   Plaintiff purchased the Products from a Walgreens located at 1011 Alton Road in

  Miami Beach, Florida, 33139.

            59.   Plaintiff resided in Miami-Dade County during the Class Period, defined below as



                                                     13
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 14 of 25




  the four years preceding the filing of the Complaint, though she relocated to Sarasota County in

  the summer of 2021.

          60.   Plaintiff seeks injunctive relief and damages on behalf of herself and the Class, and

  respectfully requests a jury trial on her damage claims.

          61.   Defendant Walgreen Co. is an Illinois corporation with a principal place of business

  in Deerfield, Illinois.

          62.   Therefore, Defendant is considered a citizen of Illinois. At all relevant times,

  Defendant marketed, distributed and sold various consumer products, including the Products that

  are the subject of this lawsuit, to Plaintiff and Members of the Class throughout this judicial district

  and the rest of the United States.

                                       CLASS ALLEGATIONS

          63.   Plaintiff re-alleges and incorporates by reference all allegations set forth above.

          64.   Plaintiff brings this class action pursuant Federal Rule of Civil Procedure 23 and

  seeks certification of the claims and certain issues in this action pursuant to the applicable

  provisions of Federal Rule of Civil Procedure 23 on behalf of the following individuals:

                  All United States residents who purchased menthol cigarettes (the
                  “Products”) from Walgreens, Inc. (“Defendant”) in the United
                  States from the four years preceding the filing of this complaint to
                  present (“Class Period”).

          65.   Excluded from the Class are Defendant and any officer, director, employee, legal

  counsel, firm, trust, corporation, or other entity related to or affiliated with Defendant and the

  members of the judiciary and their office staff to whom this case may be assigned.

          66.   Defendant’s practices and omissions were applied uniformly to all Members of the

  Class, so that the questions of law and fact are common to all Members of the Class. All Members

  of the Class were and are similarly affected by having purchased and used the menthol cigarettes,


                                                    14
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 15 of 25




  which they would not have done had Defendant properly warned Class Members that the Products

  are far more harmful and addictive than any other type of cigarette available to consumers, and the

  relief sought herein is for the benefit of Plaintiff and members of the putative Class.

         67.    On information and belief, Plaintiff alleges that the proposed class is so numerous

  that joinder of all members would be impractical. Based on the annual sales of the Products and

  the popularity of the Products, it is apparent that the number of consumers of the Products would

  at least be in the many thousands, thereby making joinder impossible.

         68.    Questions of law and fact common to the Plaintiff and the Class exist that

  predominate over questions affecting only individual members, including, inter alia:

                     a. Whether Defendant’s practices in connection with the design, testing,

                         manufacture, assembly, development, promotion, marketing, advertising

                         and sale of the Products were deceptive;

                     b. Whether Defendant’s practices in connection with the design, testing,

                         manufacture, assembly, development, promotion, marketing, advertising

                         and sale of the Products were deceptive or unfair in any respect, thereby

                         violating the Florida Deceptive and Unfair Trade Practices Act, inter alia,

                         sections 501.201 to 201.213, Florida Statutes;

                     c. Whether the Products contain menthol;

                     d. Whether Defendant failed to warn that the Products pose a public health risk

                         above that seen with nonmenthol cigarettes;

                     e. Whether Defendant negligently misrepresented the true nature of the

                         Products;




                                                   15
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 16 of 25




                     f. Whether Defendant breached implied warranties in its sale of the Products,

                         thereby causing harm to Plaintiff and Class Members; and

                     g. Whether Defendant’s conduct as set forth above injured consumers and if

                         so, the extent of the injury.


         69.    The claims asserted by Plaintiff in this action are typical of the claims of the members

  of the Plaintiff Class, as the claims arise from the same course of conduct by Defendant, and the

  relief sought is common.

         70.    Plaintiff will fairly and adequately represent and protect the interests of the members

  of the Plaintiff Class. Plaintiff has retained counsel competent and experienced in both consumer

  protection and class action litigation.

         71.    Certification of this class action is appropriate under Federal Rule of Civil Procedure

  23 because the questions of law or fact common to the respective Members of the Class

  predominate over questions of law or fact affecting only individual members.

         72.    This predominance makes class litigation superior to any other method available for

  the fair and efficient adjudication of these claims.

         73.    Absent a class action, it would be highly unlikely that the representative Plaintiff or

  any other Members of the Class would be able to protect their own interests because the cost of

  litigation through individual lawsuits might exceed the expected recovery.

         74.    Certification is also appropriate because Defendant acted or refused to act on grounds

  generally applicable to the Class, thereby making appropriate final injunctive relief with respect

  to the Class as a whole.

         75.    Further, given the large number of Class Members, allowing individual actions to

  proceed in lieu of a class action would run the risk of yielding inconsistent and conflicting


                                                   16
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 17 of 25




  adjudications.

         76.    A class action is a fair and appropriate method for the adjudication of the controversy,

  in that it will permit a large number of claims to be resolved in a single forum simultaneously,

  efficiently, and without the unnecessary hardship that would result from the prosecution of

  numerous individual actions and the duplication of discovery, effort, expense and burden on the

  courts that such individual actions would engender.

         77.    The benefits of proceeding as a class action, including providing a method for

  obtaining redress for claims that would not be practical to pursue individually, outweigh any

  difficulties that might be argued with regard to the management of this class action.

                                    FIRST CAUSE OF ACTION

               VIOLATION OF FLORIDA’S DECEPTIVE AND UNFAIR TRADE
               PRACTICES ACT (“FDUTPA”), FLA. STAT. §§ 501.201, ET SEQ.

         78.    Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth in

  the preceding paragraphs.

         79.    This cause of action is brought pursuant the Florida Deceptive and Unfair Trade

  Practices Act, Sections 501.201 to 201.213, Florida Statutes. The express purpose of the Act is to

  “protect the consuming public...from those who engage in unfair methods of competition, or

  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce”

  Section 501.202(2).

         80.    The sale of the Products at issue in this cause was a “consumer transaction” within

  the scope of the Florida Deceptive and Unfair Trade Practices Act, Sections 501.201 to 201.213,

  Florida Statutes.

         81.    Plaintiff is a “consumer” as defined by Section 501.203, Florida Statutes. The




                                                   17
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 18 of 25




  Products are a “good” within the meaning of the Act. Defendant is engaged in trade or commerce

  within the meaning of the Act.

         82.    Section 501.204(1), Florida Statutes declares as unlawful “unfair methods of

  competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

  conduct of any trade or commerce”.

         83.    Section 501.204(2), Florida Statutes states that “due consideration be given to the

  interpretations of the Federal Trade Commission and the federal courts relating to Section 5(a)(1)

  of the Trade Commission Act”. Defendant’s unfair and deceptive practices are likely to mislead –

  and have misled – the consumer acting reasonably under the circumstances and, therefore, violate

  Section 500.04, Florida Statutes and 21 U.S.C. Section 343.

         84.    Defendant has violated the Act by engaging in the unfair and deceptive practices

  described above, which offend public policies and are immoral, unethical, unscrupulous and

  substantially injurious to consumers. Specifically, Defendant has represented the Products as

  ordinary cigarettes and failed to warn that the Products are in fact much more harmful and addictive

  than the other nonmenthol cigarettes available to consumers.

         85.    Furthermore, as explained in detail above, Defendant had actual knowledge of the

  Products misrepresentations since at least 2013 when the FDA concluded that menthol cigarettes

  were associated with greater addiction and posed a public health risk above that seen with

  nonmenthol cigarettes.

         86.    Plaintiff and Class Members have been aggrieved by Defendant’s unfair and

  deceptive practices in that they purchased and used Defendant’s Products.

         87.    The Reasonable Consumer necessarily relies on commercial retail companies to

  honestly represent the true nature of their products.




                                                   18
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 19 of 25




         88.    As described in detail above, Defendant has represented its menthol cigarettes as

  typical cigarettes and failed to warn that the Products in fact pose greater health risks to consumers

  than any other type of cigarette.

         89.    Defendant has deceived reasonable consumers, like Plaintiff and the Class, into

  believing its Products were something they were not—standard cigarettes no more harmful than

  any other.

         90.    The knowledge required to discern the true nature of Defendant’s Products is beyond

  that of the reasonable consumer—namely that the Products pose a public health risk above that

  seen with nonmenthol cigarettes.

         91.    The damages suffered by the Plaintiff and the Class were directly and proximately

  caused by the deceptive, misleading and unfair practices of Defendant, as described above.

         92.    Pursuant to Section 501.211(1), Florida Statutes, Plaintiff and the Class seek an

  Order enjoining the above described wrongful acts and practices of the Defendant and for

  restitution and disgorgement.

         93.    Additionally, pursuant to sections 501.211(2) and 501.2105, Florida Statutes,

  Plaintiff and the Class make claims for damages, attorney’s fees and costs.

                                   SECOND CAUSE OF ACTION

                              NEGLIGENT MISREPRESENTATION

         94.    Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth in

  the preceding paragraphs.

         95.    Defendant has negligently misrepresented the Products as conventional cigarettes no

  different than any others when in fact, they are not because they are far more addictive and harmful

  than the other types of cigarettes available to consumers.



                                                   19
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 20 of 25




         96.   Defendant has omitted a material fact to the public, including Plaintiff and Class

  Members, about its Products. Through advertising not related to the label, Defendant has failed to

  disclose the material fact that the Products pose a public health risk above that seen with

  nonmenthol cigarettes.

         97.   Defendant knew or should have known that the representations were false and that

  said omissions would materially affect Plaintiff’s and Class Members’ decisions to purchase the

  Products.

         98.   Plaintiff and other reasonable consumers, including the Class Members, reasonably

  relied on Defendant’s representations set forth herein, and, in reliance thereon, purchased the

  Products.

         99.   The reliance by Plaintiff and Class Members was reasonable and justified in that

  Defendant appeared to be, and represented itself to be, a reputable business.

         100. Plaintiff and Class Members would not have been willing to pay for Defendant’s

  Products if they knew the Products were more harmful and addictive than the other nonmenthol

  cigarettes available for purchase.

         101. As a direct and proximate result of these misrepresentations, Plaintiff and Class

  Members were induced to purchase and use Defendant’s Products, and have suffered damages to

  be determined at trial in that, among other things, they have been deprived of the benefit of their

  bargain in that they bought Products that were not what they were represented to be, and have

  spent money on Products that had less value than the price they paid for the Products.

         102. Plaintiff and Class Members would not have purchased the Product or paid as much

  if the true facts had been known, suffering damages.




                                                  20
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 21 of 25




                                   THIRD CAUSE OF ACTION

                              BREACH OF IMPLIED WARRANTY
                                  OF MERCHANTABILITY

         103. Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth in

  the preceding paragraphs.

         104. Defendant has represented that the Products are mere ordinary cigarettes; therefore,

  Defendant impliedly warranted that the Products are no more harmful than any other and are fit

  for ordinary use. The Products, however, are not fit for ordinary use because they are much more

  dangerous and addictive than any of their nonmenthol analogs.

         105. Plaintiff and other Members of the Class sought to purchase typical cigarettes. In

  doing so, Plaintiff and other Members of the Class relied on Defendant’s skill and judgment to

  select and furnish suitable goods for that purpose, and on or about that time, Defendant sold the

  Products to Plaintiff and other Members of the Class.

         106. By its representations regarding the reputable nature of its company, and by its

  promotion and marketing of the Products, Defendant warranted that the Products were

  conventional and suitable for use and consumption by consumers. Plaintiff and Members of the

  Class bought the Products from Defendant, relying on Defendant’s skill and judgment.

         107. However, Defendant’s Products were not reasonably fit for consumption because

  they pose an unreasonable public health risk above that seen with nonmenthol cigarettes.

  Therefore, the goods were not reasonably fit for the purposes intended.

         108. At the time of sale, Defendant had reason to know the particular purpose for which

  the goods were required, and that Plaintiff and Members of the Class were relying on Defendant’s

  skill and judgment to select and furnish typical cigarettes, so that there was an implied warranty

  that the goods (the Products) were fit for this purpose.


                                                   21
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 22 of 25




         109. However, Defendant breached the warranty implied at the time of sale because

  Plaintiff and Members of the Class did not receive suitable goods in as much as the goods were

  far more harmful and addictive than any of the other cigarettes available to consumers.

         110. Because the Products pose a public health risk above that seen with nonmenthol

  cigarettes, the Products were not fit for the particular purpose for which they were marketed.

         111. As a proximate result of this breach of warranty by Defendant, Plaintiff and Members

  of the Class have suffered actual damages in an amount to be determined at trial in that they were

  induced to purchase a Products they would not have purchased had they known the true facts about

  and have spent money on Products that were not what they were represented to be, and that lack

  the value Defendant represented the Products to have.

         112. Plaintiff and Class Members gave timely notice to Defendant of this breach on behalf

  of themselves and all members of the Plaintiff Class directly through a Notice letter sent to

  Defendant’s registered agent in its incorporation state on or around May 5, 2022.

         113. Furthermore, Defendant continues to market the Products without any warning that

  the Products pose a public health risk above that seen with nonmenthol cigarettes.

                                    FOURTH CAUSE OF ACTION

                               BREACH OF IMPLIED WARRANTY
                                  OF FITNESS FOR PURPOSE

         114. Plaintiff re-alleges and incorporates by reference verbatim the allegations set forth in

  the preceding paragraphs.

         115. Defendant has represented that the Products are ordinary cigarettes when in fact, the

  Products pose a public health risk above that seen with nonmenthol cigarettes. Therefore,

  Defendant impliedly warranted that the Products are standard cigarettes no more harmful than any

  other and fit for ordinary use.


                                                  22
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 23 of 25




         116. Plaintiff and other Members of the Class sought typical cigarettes. In doing so,

  Plaintiff and other Members of the Class relied on Defendant’s skill and judgment to select and

  furnish suitable goods for that purpose, and on or about that time, Defendants sold the Products to

  Plaintiff and other Members of the Class.

         117. By their representations regarding the reputable nature of it company and related

  entities, and by their promotion and marketing of their Products, Defendant warranted that the

  Products were ordinary cigarettes fit for use by consumers. Plaintiff and Members of the Class

  bought the Products from Defendant, relying on Defendant’s skill and judgment.

         118. However, Defendant’s Products were not safe and conventional products because

  they are far more addictive and harmful as set forth in detail above. Therefore, the Products were

  not reasonably fit for the purposes intended.

         119. At the time of sale, Defendant had reason to know the particular purpose for which

  the goods were required, and that Plaintiff and Members of the Class were relying on Defendant’s

  skill and judgment to select and furnish conventional goods, so that there was an implied warranty

  that the goods (the Products) were fit for this purpose.

         120. However, Defendant breached the warranty implied at the time of sale because

  Plaintiff and Members of the Class did not receive suitable goods in as much as the goods pose a

  public health risk above that seen with nonmenthol cigarettes.

         121. Because the Products pose a public health risk above that seen with nonmenthol

  cigarettes, the Products were not fit for the particular purpose for which they were marketed.

         122. As a proximate result of this breach of warranty by Defendant, Plaintiff and Members

  of the Class have suffered actual damages in an amount to be determined at trial in that they were

  induced to purchase products they would not have purchased had they known the true facts about




                                                   23
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 24 of 25




  and have spent money on products that were not what they were represented to be, and that lack

  the value Defendant represented the Products to have.

         123. Plaintiff and Class Members gave timely notice to Defendant of this breach on behalf

  of themselves and all members of the Plaintiff Class directly through a Notice letter sent to

  Defendant’s registered agent in its incorporation state on or around May 5, 2022.

         124. Furthermore, Defendant continues to market the Products without any warning that

  the Products pose a public health risk above that seen with nonmenthol cigarettes.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, prays for

  relief, jointly and severally pursuant to each cause of action set forth in this Complaint as follows:

             1. For an order certifying that the action may be maintained as a class action and

                 Plaintiff’s counsel be appointed as Class Counsel and Plaintiff be appointed as class

                 representative;

             2. For an award of equitable relief as follows:

                     a. Enjoining Defendant from continuing to engage, use, or employ any unfair

                         and/or deceptive business acts or practices related to the design, testing,

                         manufacture, assembly, development, marketing and advertising of the

                         Products for the purpose of selling the Products in such manner as set forth

                         in detail above;

                     b. Restoring all monies that may have been acquired by Defendant as a result

                         of such unfair and/or deceptive act or practices; and

                     c. Requiring Defendant to disgorge all ill-gotten gains flowing from the

                         conduct described herein.


                                                   24
Case 1:22-cv-21405-RNS Document 1 Entered on FLSD Docket 05/05/2022 Page 25 of 25




        3. For actual damages in an amount to be determined at trial;

        4. For an award of attorneys’ fees and costs;

        5. For pre- and post-judgment interest on any amounts awarded; and

        6. For any other award the Court might deem just, appropriate, or proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a jury trial on all issues so triable.

  Dated: May 5, 2022
                                                        Respectfully submitted,

                                                        /s/ Joel Oster
                                                        Joel Oster
                                                        Fla. SBN: 659746
                                                        Law Offices of Howard W. Rubinstein
                                                        joel@joelosterlaw.com
                                                        22052 W 66th St #192
                                                        Shawnee KS 66226
                                                        (913) 206-7575

                                                        Angela Arango-Chaffin
                                                        Fla. SBN: 87919
                                                        The Law Office of Angela Arango-Chaffin
                                                        angela@chaffinlawfirm.com
                                                        540 W Ave Ste 1113
                                                        Miami Beach FL 33139
                                                        (713) 818-2515

                                                        Spencer Sheehan*
                                                        Sheehan & Associates, P.C.
                                                        spencer@spencersheehan.com
                                                        60 Cuttermill Rd Ste 412
                                                        Great Neck NY 11021
                                                        (516) 268-7080

                                                        *Pro Hac Vice Forthcoming




                                                   25
